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AO 199A (Rev.    ) Order Setting Conditions of Release                                             Page 1 of        Pages



                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District
                                                    __________     of Columbia
                                                                District of __________


                United States of America                             )
                           v.                                        )
                                                                     )        Case No.
                                                                     )
                           Defendant
                                                                     )

                                     ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

      The defendant must not violate federal, state, or local law while on release.

      The defendant must cooperate in the collection of a DNA sample if it is authorized by     U.S.C. §        .

      The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

      The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.
      The defendant must appear at:
                                                                                     Place



      on
                                                                    Date and Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
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AO 199B (Rev. 12/11) Additional Conditions of Release                                                                                      Page        of      Pages

                                                        ADDITIONAL CONDITIONS OF RELEASE
         IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

(    )       (6)
              The defendant is placed in the custody of:
              Person or organization
              Address (only if above is an organization)
              City and state                                                                                      Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian’s custody.

                                                                               Signed:
                                                                                                            Custodian                                       Date
(    ) (7) The defendant must:
      (   ) (a) submit to supervision by and report for supervision to the                                                                         ,
                telephone number                            , no later than                                                     .
      (   ) (b) continue or actively seek employment.
      (   ) (c) continue or start an education program.
      (   ) (d) surrender any passport to:
      (   ) (e) not obtain a passport or other international travel document.
      (   ) (f) abide by the following restrictions on personal association, residence, or travel:

         (         ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                         including:

         (         ) (h)

         (         ) (i) return to custody each                   at            o’clock after being released at                 o’clock for employment, schooling,
                         or the following purposes:

         (         ) (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                         necessary.
         (         ) (k) not possess a firearm, destructive device, or other weapon.
         (         ) (l) not use alcohol (        ) at all (     ) excessively.
         (         ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                         medical practitioner.
         (         ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
                         frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
                         substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
                         substance screening or testing.
         (         ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                         supervising officer.
         (         ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                         (    ) (i) Curfew. You are restricted to your residence every day (             ) from                      to              , or (     ) as
                                      directed by the pretrial services office or supervising officer; or
                         (    ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
                                      substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities
                                      approved in advance by the pretrial services office or supervising officer; or
                         (    ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                      court appearances or other activities specifically approved by the court.
         (         ) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                         requirements and instructions provided.
                         (    ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                                supervising officer.
         (         ) (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                         arrests, questioning, or traffic stops.
         (         ) (s)
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                                                           G. Michael Harvey
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April 15, 2021 nunc pro tunc
